                Case 2:15-cr-00109-JLR Document 63 Filed 09/18/15 Page 1 of 3



 1                                                           The Honorable James L. Robart
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 5
                      UNITED STATES DISTRICT COURT FOR THE
 6
                        WESTERN DISTRICT OF WASHINGTON
 7                                 AT SEATTLE
     UNITED STATES OF AMERICA,             ]
 8
                                           ]
 9         Plaintiff,                      ]   NO. CR15-109JLR
                                           ]
10
           v.                              ]   DEFENDANT’S MOTION IN
11                                         ]   LIMINE TO EXCLUDE
     RAYMOND LEE FRYBERG,                  ]   FIREARMS AND PHOTOS
12                                         ]
13         Defendant.                      ]
     _____________________________________ ]
14

15
             Defendant Raymond Lee Fryberg, by and through his attorneys, moves in
16
     limine to preclude the government from introducing into evidence either the guns
17

18   possessed by Mr. Fryberg or photos of the guns.

19           Federal Rule of Evidence 403 provides that a court may exclude evidence
20
     where its probative value is substantially outweighed by the danger of
21
     unfair prejudice. Mr. Fryberg will stipulate to his possession of the relevant
22

23   firearms; therefore there is no dispute as to this element of the crimes charged.

24   Since his possession of the firearms is not in dispute, neither the firearms
25
     themselves nor photos of the firearms are probative of an issue in dispute.
26
     Consequently, the probative value is completely outweighed by the prejudice
27

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                                                                Edmond Law, PLLC
     Defendant Fryberg’s Motion in Limine - PAGE 1              2615 11th Avenue W
29                                                               Seattle, WA 98119
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                Case 2:15-cr-00109-JLR Document 63 Filed 09/18/15 Page 2 of 3



 1   inherent in the guns or photos of the guns. In this case, the photographs at issue
 2
     pose a significant risk of provoking an emotional reaction from the jury and should
 3
     be excluded. See United States v. Drummond, No. 1:09CR00159, 2010 WL 1329059,
 4

 5   at *2 (M.D. Pa. Mar. 29, 2010).

 6           Respectfully submitted this 18th day of September, 2015.
 7
                     s/ Lee Edmond
 8                   Lee Edmond, #34693
                     Attorney for Raymond Lee Fryberg
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                Case 2:15-cr-00109-JLR Document 63 Filed 09/18/15 Page 3 of 3



 1                                     CERTIFICATE OF SERVICE
 2
             I hereby certify that on September 17, 2015, I electronically filed this motion
 3
     with the Clerk of the Court using the CM/ECF System that will send notification of
 4

 5   such filing to the attorney(s) of record.

 6                   s/Lee Edmond
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                     Lee Edmond, #34693
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